Case 2:12-cv-03807-ES-JAD Document 31 Filed 12/03/13 Page 1 of 2 PagelD: 1336

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12.2.2013
By Fed Ex
Atten: Clerk Staff - Ms. Jane
Court Clerk — Civil Division
MLK, Jr. Courthouse
50 Walnut Street
Newark, NJ 07102

Re: Jemas v. CitiMortgage, et al
Civil Action No. 12-cv-03807
For Immediate Filing On Pacer Plaintiff's Second Amended Complaint

Dear Sir / Madam:

Enclosed herewith for immediate filing please find copy of plaintiff's Second Amended
Complaint to be substituted as Plaintiff's complaint in opposition to the motion of
defendant's to dismiss plaintiff's complaint.

We have waited over 12 months for discovery from the defendants and over 4 written
requests and even a conference with a Magistrate Judge on or about 11.20.2013 on the
missing discovery issue, and we still have not received one shred of written discovery
from this defendant.

To save space all the exhibits of plaintiff's appeal and plaintiff's motion for declaratory
judgment are incorporated in the plaintiff's second amended complaint in their entirety.

This amended complaint was drafted because we had no alterative but to seek
information on our own which is incomplete for certain, but we had no choice. We
categorically reserve the right to amend this complaint when and if ever the defense
supplies the plaintiff's with discovery and request that any motion they may be seeking to
dismiss be absolutely held in abeyance pending receipt of discovery from them and our
liberal opportunity to review and seek supplementation as necessary.

Thank you for your kindness and consideration in this matter. Please do not hesitate to
contact me if you have any questions regarding this matter.

Respectfully,

 
Case 2:12-cv-03807-ES-JAD Document 31 Filed 12/03/13 Page 2 of 2 PagelD: 1337

 

Gareth De Santiago, Esquire, LLC
Enclosures
